                       UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

IN RE:

PENDY’S RESTAURANT GROUP, LLC,                           Case no. 25-43017-prh
                                                         Chapter 11
             Debtor.                                     Sub-Chapter V
                                                         Hon. Paul R. Hage
___________________________________________________/

              RESPONSE TO MOTION FOR ORDER AUTHORIZING
               ASSUMPTION OF NET LEASE AGREEMENT WITH
                 COUVREUR FAMILY LIMITED PARTNERSHIP

      Couvreur Family Limited Partnership (“Landlord”), by and through one

of its counsel, Plunkett Cooney, iles its Response to the Debtor’s Motion for

Order Authorizing Assumption of Net Lease Agreement with Landlord and in

support thereof would show this Court:

      1.     The Debtor has a lease agreement with the Landlord relating to

property at 20930-20934 Mack Avenue in Grosse Pointe Woods, Michigan. The

Debtor in its Motion to Assume the Lease attached as an Exhibit the original Net

Lease Agreement (the “Initial Lease”).

      2.     The parties, however, also entered into a First Amendment to Net

Lease Agreement on August 1, 2023 (the “First Amendment,” together with the

Initial Lease, the “Lease”). A copy of this First Amendment is attached hereto

and incorporated by reference herein as Exhibit A.
                                             1

  25-43017-prh    Doc 83    Filed 07/09/25       Entered 07/09/25 16:54:45   Page 1 of 4
     3.    Pursuant to 11 USC §365, in order to assume an unexpired lease,

the Debtor must either cure or provide adequate assurance that the Debtor will

promptly cure defaults under the Lease, compensate or provide adequate

assurance that the Debtor will promptly compensate a party other than the

Debtor to such lease for any pecuniary loss to such party resulting from such

default and provide adequate assurance of future performance under the lease.

     4.    The Debtor’s Motion to Assume the Lease fails to comply with the

statutory requirement of 11 USC §365. In particular, the Debtor does not

propose curing the pre-petition defaults, but only post-petition defaults.

However, in order to assume the Lease, both pre- and post-petition defaults

need to be cured. Attached hereto and incorporated by reference herein as

Exhibit B is a spreadsheet showing the amount owing to Landlord for the pre-

and post-petition defaults. In order to assume the Lease, the Debtor will need

to pay the amount shown on Exhibit B to cure the pre- and post-petition

defaults on the day the Court enters the Order Assuming Lease.

     5.    In addition, Landlord has incurred attorney fees as a result of the

Debtor’s iling for bankruptcy in the amount of $13,794.10. Attached as

Exhibit C are copies of the post-petition invoices.             Pursuant to 11 USC

§365(b)(1)(B) the Debtor must pay to Landlord its attorney fees which



                                           2

  25-43017-prh   Doc 83   Filed 07/09/25       Entered 07/09/25 16:54:45   Page 2 of 4
represent the actual pecuniary loss to Landlord on the day the Court enters the

Order Assuming the Lease.

      6.    The Debtor must also provide adequate assurance of future

performance under the Lease as required by 11 USC §365(b)(1)(C). The

Debtor’s Motion to Assume fails to provide any adequate assurance of future

performance. Such adequate assurance of future performance needs to be in

the form of an additional security deposit of two (2) times the current monthly

rent, being $12,000 to be paid on the day the Court enters the Order Assuming

the Lease. The additional security deposit will help to protect the Landlord of

any future defaults and provide a cushion to assure future performance.

Indeed, although the time has passed for the Debtor to maintain, as current,

post-petition payments under the Lease, the Debtor has yet to accordingly

perform.

      7.    Landlord objects to any assumption of the Lease unless and until

the Debtor cures at the time this Court enters the Order Approving the

Assumption of the Lease all of the pre- and post-petition defaults, compensates

Landlord for all its attorney fees incurred post-petition and provides a $12,000

security deposit, in addition to the existing security deposit, to provide

adequate assurance of future performance. Unless the Debtor is willing and



                                           3

  25-43017-prh   Doc 83   Filed 07/09/25       Entered 07/09/25 16:54:45   Page 3 of 4
able to comply with its statutory requirements, the Debtor’s Motion to Assume

Lease should be denied.

        WHEREFORE Landlord respectfully prays that this Court deny the

Debtor’s Motion to Assume Lease, order the Debtor to pay all of the pre- and

post-petition defaults to Landlord as well as Landlord’s attorney fees incurred

post-petition and a $12,000 security deposit for adequate assurance of future

performance with all such funds paid on the day that this Court enters its Order

Approving the Assumption of the Lease and for all other relief as is just and

proper.


                                              Respectfully submitted,

                                              PLUNKETT COONEY



                                              By: /s/DAVID A. LERNER
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Dated: July 9, 2025

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   25-43017-prh          Doc 83   Filed 07/09/25       Entered 07/09/25 16:54:45   Page 4 of 4
